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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                               CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                            Original Plan
                        ■   3rd - MMM                             Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                  Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Ralph Levi Sanders                             JOINT DEBTOR:                                       CASE NO.: 19-24331-JKO
SS#: xxx-xx- 6171                                         SS#: xxx-xx-
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                            ■     Included              Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                  Included          ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                           ■     Included              Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $1,683.28            for months   1    to 20 ;

                   2.   $1,671.47            for months 21 to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                              NONE     PRO BONO
        Total Fees:             $6775.00            Total Paid:             $500.00            Balance Due:           $6275.00
        Payable             $319.50          /month (Months 1     to 18 )
        Payable             $262.00          /month (Months 19 to 20 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3,500.00 for CH 13 atty. fees, $2,500.00 for MMM program and $775.00 for Motion to Value

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                 NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: The Bank of New York Mellon c/o Specialized Loan Servicing, LLC
              Address: POB 636007                         Arrearage/ Payoff on Petition Date
                       Littleton, CO 80163
                                                          MMM Adequate Protection                     $1,200.01      /month (Months     1   to 60 )

         Last 4 Digits of
         Account No.:                 9424
        Other:
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         ■    Real Property                                                           Check one below for Real Property:
                 ■ Principal    Residence                                              ■     Escrow is included in the regular payments
                       Other Real Property                                                   The debtor(s) will pay       taxes    insurance directly
         Address of Collateral:
         561 SW 60 Ave.
         Plantation, FL 33317
              Personal Property/Vehicle
         Description of Collateral:
             B. VALUATION OF COLLATERAL:                           NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:                 NONE

         1. Creditor: Small Business                          Value of Collateral:                 $415,000.00                      Payment
                      Administration
                                                              Amount of Creditor's Lien:            $27,688.92    Total paid in plan:          $0.00
               Address: 801 Tom Martin Dr., #120
                        Birmingham, AL 35211
                                                              Interest Rate:       0.00%                                  $0.00   /month (Months        to    )
         Last 4 Digits of Account No.:             6003
                                                              Check one below:
         Real Property
                                                                Escrow is included in the monthly
          ■   Principal Residence                               mortgage payment listed in this section
              Other Real Property                               The debtor(s) will pay
         Address of Collateral:                                            taxes             insurance directly
         561 SW 60 Ave. Plantation, FL 33317


                   2. VEHICLES(S):             ■   NONE
                   3. PERSONAL PROPERTY:                  ■   NONE
             C. LIEN AVOIDANCE                 ■   NONE
             D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
                distribution fom the Chapter 13 Trustee.
                       ■   NONE
             E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
                fom the Chapter 13 Trustee.
                       ■   NONE
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
             A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                            ■   NONE
             B. INTERNAL REVENUE SERVICE:                          NONE
              Total Due:                 $214.88              Total Payment                    $214.88
               Payable:               $10.74         /month (Months      1      to 20 )


             C. DOMESTIC SUPPORT OBLIGATION(S):                        ■     NONE
             D. OTHER:            ■   NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS


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                A. Pay              $0.00        /month (Months    1    to 18 )
                       Pay         $57.50        /month (Months 19      to 20 )
                       Pay         $319.50       /month (Months 21      to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
                B.           If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                C. SEPARATELY CLASSIFIED:                   ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                         ■   NONE
VIII.       NON-STANDARD PLAN PROVISIONS                 NONE
            ■ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                 1. In the event the Debtor recovers any non-exempt proceeds from his pending lawsuit against Temenos
                 USA, Inc., those proceeds will be placed in the Debtor's Attorney's Trust Account and turned over to the
                 Chapter 13 Trustee for the benefit of the unsecured creditors over and above what is provided for in the
                 plan up to 100% of allowed unsecured claims.

                 2. In the event the Debtor recovers any non-exempt proceeds from his pending claim against Universal
                 Property Insurance for water damage to his homestead property, those proceeds will be placed in the
                 Debtor's Attorney's Trust Account and turned over to the Chapter 13 Trustee for the benefit of the
                 unsecured creditors over and above what is provided for in the plan up to 100% of allowed unsecured
                 claims.

                 3. In the event the Debtor recovers any non-exempt proceeds from a potential claim for retroactive Finland
                 survivor benefits, those proceeds will be placed in the Debtor's Attorney's Trust Account and turned over to
                 the Chapter 13 Trustee for the benefit of the unsecured creditors over and above what is provided for in
                 the plan up to 100% of allowed unsecured claims.

                 4. In the event the Debtor recovers any non-exempt proceeds from a potential claim against Wells Fargo/
                 New York Bank Mellon for failure to provide a HAMP, those proceeds will be placed in the Debtor's
                 Attorney's Trust Account and turned over to the Chapter 13 Trustee for the benefit of the unsecured
                 creditors over and above what is provided for in the plan up to 100% of allowed unsecured claims.

                 5. In the event the Debtor recovers any non-exempt proceeds from a potential class action claim against
                 Wells Fargo Mortgage Modifications Notification Class Action Lawsuit is Hernandez, et al. v. Wells Fargo
                 Bank NA, et al., Case No. 3:18-cv-07354, in the U.S. District Court for the Northern District of California,
                 those proceeds will be placed in the Debtor's Attorney's Trust Account and turned over to the Chapter 13
                 Trustee for the benefit of the unsecured creditors over and above what is provided for in the plan up to
                 100% of allowed unsecured claims.

            ■        Mortgage Modification Mediation




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                   1 The debtor has filed a Verified Motion for Referral to MMM with:
                   The Bank of New York Mellon c/o Specialized Loan Servicing, LLC                                                     ("Lender")
                   loan number 9424
                   for real property located at 561 SW 60 Ave., Plantation, FL 33317

                   The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
                   Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
                   modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
                   petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
                   contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
                   due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
                   such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
                   by the trustee and not upon receipt by the lender.

                   Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
                   proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
                   stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
                   of the plan or modified plan.

                   If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
                   pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
                   with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
                   14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
                   modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.

                   If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
                   days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
                   the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
                   necessary to complete the settlement.

                   In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
                   disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

                   If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
                   filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
                   Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
                   property will be “treated outside the plan.” If the property is “treated outside the plan,” the lender will be entitled to in rem stay
                   relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
                   confirm that the automatic stay is not in effect as to the real property.

                   Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
                   of Claim.




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                       PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                        Debtor                                                           Joint Debtor
  Ralph Levi Sanders                                      Date                                                                 Date



  /s/ Michael H. Johnson, Esq.               4/26/2020
    Attorney with permission to sign on                  Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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